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13
                               UNITED STATES DISTRICT COURT
14
                              EASTERN DISTRICT OF CALIFORNIA
15

16
   CALIFORNIA COASTKEEPER                             Case No. 2:20-CV-01703-SCR
17 ALLIANCE,
                                                      [PROPOSED] ORDER GRANTING
18                           Plaintiff,               PLAINTIFF’S MOTION FOR
                                                      ATTORNEYS’ FEES AND COSTS
19         v.                                         UNDER
20
     COSUMNES CORPORATION dba                         Hearing Date: June 12, 2025
21   MURIETA EQUESTRIAN CENTER, a                     Time: 10:00 AM
     California Corporation; CAROL                    Courtroom: 27, 8th Floor
22   ANDERSON WARD, an individual;                    Hon. Sean Riordan
     CAROL ANDERSON WARD, as trustee
23   of the Carol Anderson Ward Trust dated
24   February 6, 2002,

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                            Defendants.
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                                              1
      [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR INTERIM ATTORNEYS’ FEES AND COSTS
                                            UNDER
      Case 2:20-cv-01703-SCR           Document 189-1       Filed 04/18/25      Page 2 of 2


 1                                         [PROPOSED] ORDER

 2          On November 18, 2024, Plaintiff California Coastkeeper Alliance (hereafter “Plaintiff”)

 3   moved for an award of attorneys’ fees and costs. Having considered the briefing and declarations in

 4   support of the Motion and oral argument of the parties, the Court finds the following:

 5             1. Plaintiff is a prevailing party;

 6             2. The time spent by Plaintiff’s counsel that Plaintiff seeks to recover is reasonable;

 7             3. The hourly rates for counsel and support staff that Plaintiff seeks to recover are

 8                 reasonable considering the market rate in the Eastern District of California and the

 9                 experience and expertise of counsel;

10             4. Attorneys’ fees in the amount of $1,713,697.60 for work on this matter are reasonable

11                 and recoverable;

12             5. The costs that Plaintiff seeks to recover, including the costs associated with their

13                 experts, in the amount of $126,975.17, are reasonable and recoverable.

14             6. The total fees and costs equals $1,840,672.77.

15   Based on these findings, Plaintiff’s Motion for Attorneys’ Fees and Costs is hereby GRANTED.

16   IT IS SO ORDERED.

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18 Dated:
                                                          Hon. SEAN C. RIORDAN
19                                                        UNITED STATES MAGISTRATE JUDGE
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     [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR INTERIM ATTORNEYS’ FEES AND COSTS
                                           UNDER
